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                  IN THE UNITED STATES DISTRICT COURT
                      MIDDLE DISTRICT OF GEORGIA
                            MACON DIVISION

SOPHIA VAZQUEZ a Minor,                            Civil Action File No.
By Parents and Guardian,                           5:21-cv-00098-MTT
IVANNA VAZQUEZ,

                                      Plaintiff,
v.

WAL-MART INC. AND JOHN DOES 1-5,

            Defendants.
                              /

 DEFENDANT WALMART INC.’S STATEMENT OF FEES AND EXPENSES
 RELATED TO ITS APPEARANCE AT MAY 4, 2021 STATUS CONFERENCE

      COMES NOW Defendant Walmart, Inc. and, pursuant to the Court’s

Order (Doc. 12) of May 18, 2021, presents the following statement of attorneys’

fees and expenses incurred related to its counsel’s appearance at the Court’s May

4, 2021 status conference, respectfully showing the Court as follows:

      Defendant incurred $712.00 in attorneys’ fees and $110.40 in expenses

related to its counsel’s travel to and from the May 4, 2021 hearing and related

appearance at the hearing.

      This 1st day of June, 2021.

                                      McLAIN & MERRITT, P.C.

                                      /s/ Ernest L.Beaton, IV
                                      GA Bar No. 213044
                                      Attorney for Defendant
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3445 Peachtree Road, NE
Suite 500
Atlanta, GA 30326
(404) 266-9171
ebeaton@mmatllaw.com
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                          CERTIFICATE OF SERVICE

      I hereby certify that a copy of the above and foregoing DEFENDANT’S

STATEMENT OF FEES AND EXPENSES this day been filed and served upon

opposing counsel via email via the Court’s ECF filing system.

      This the 1st day of June, 2021.

                                        McLAIN & MERRITT, P.C.

                                        /s/ Ernest L.Beaton, IV
                                        GA Bar No. 213044
                                        Attorney for Defendant
3445 Peachtree Road, NE
Suite 500
Atlanta, GA 30326
(404) 266-9171
ebeaton@mmatllaw.com
